  Case 13-32365       Doc 40     Filed 02/17/14 Entered 02/17/14 12:00:47             Desc Main
                                   Document     Page 1 of 2




                   IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE NORTHERN DISTRICT OF ILLIONIS, EASTERN DIVISION


In Re:                                         )
                                               )     NO. 13 B 32365
JORGE SANTIAGO                                 )
NANCY SANTIAGO                                 )
                                               )
                                               )
                                               )     Chapter 13
                      Debtors                  )
                                               )
                                               )
                                               )     Honorable Judge Carol A. Doyle
                                               )

            NOTICE CONVERTING DEBTORS’ CHAPTER 13 TO CHAPTER 7




   NOW COME, JORGE AND NANCY SANTIAGO (“Debtors”), by and through their

attorneys, Sulaiman Law Group, LTD., and pursuant to 11 U.S.C §1307(a) and Local Rule 1017-

1 bringing this Notice to Convert their Chapter 13 to Chapter 7, and in support thereof stating as

follows:


   1. Debtors filed an emergency petition for relief pursuant to Chapter 13 of the Bankruptcy

Code on August 14, 2013.

   2. After a careful analysis of their financial circumstances, Debtors have concluded they

cannot fund a Chapter 13 plan and that it is in their best interest to convert the instant Chapter

13 bankruptcy to one under Chapter 7.

   3. Pursuant to 11 U.S.C. §1307, Debtors may convert their case to one under Chapter 7 at

any time.
  Case 13-32365      Doc 40    Filed 02/17/14 Entered 02/17/14 12:00:47          Desc Main
                                 Document     Page 2 of 2




WHEREFORE, the Debtors hereby notify all parties of interest of the following:

       1. The Debtors’ Chapter 13 case is converted to one under Chapter 7 of the United

          States Bankruptcy Code.



Dated: February 17 , 2014                         Respectfully Submitted,

                                                  /s/ Mohammed O. Badwan
                                                  Mohammed O. Badwan, Esq. #6299011
                                                  Counsel for Debtors
                                                  Sulaiman Law Group, LTD
                                                  900 Jorie Blvd, Ste 150
                                                  Oak Brook, IL 60523
                                                  Phone (630)575-8181
                                                  Fax: (630)575-8188
